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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

United States of America,

                     Plaintiff,

v.                                                             Case No. 13-20043-01-JWL


Clifford A. Dodds,

                     Defendant.

                                  MEMORANDUM AND ORDER

      In April 2013, defendant Clifford A. Dodds was charged with numerous federal drug and

firearm offenses. Utlimately, Mr. Dodds pleaded guilty to possession with intent to distribute 28

grams or more of crack cocaine within 1000 feet of a school and possession of a firearm in

furtherance of a drug trafficking crime. The parties agreed, under Federal Rule of Criminal

Procedure 11(c)(1)(C), that Mr. Dodds should be sentenced to 210 months imprisonment followed

by eight years of supervised release. A presentence report (PSR) determined that Mr. Dodds was

a career offender under U.S.S.G. § 4B1.1 and that his sentencing range under the Guidelines

should be 262 to 327 months imprisonment plus the required consecutive 60-month sentence for

the firearm conviction. The district judge assigned to the case at that time determined that a

variance was appropriate, accepted the binding Rule 11(c)(1)(C) plea agreement and sentenced

Mr. Dodds to 210 months.

      Mr. Dodds is presently incarcerated at FCI Florence and his anticipated release date is April

11, 2028. This matter is presently before the court on defendant’s motion for compassionate
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release (doc. #189) pursuant to 18 U.S.C. § 3582(c)(1)(A). For the reasons set forth below, the

motion is denied.1

       The moving defendant bears the burden of establishing that “compassionate release” is

warranted under § 3582(c)(1)(A), and a court exercises its discretion in ruling on such a motion.

See United States v. Jackson, 2020 WL 2812764, at *2 (D. Kan. May 29, 2020) (Lungstrum, J.)

(citing cases).2 Section 3582(c)(1)(A) provides that a court may reduce a sentence if it finds, after

considering applicable factors from § 3553(a), that (a) extraordinary and compelling reasons

warrant the reduction and (b) the reduction is consistent with the applicable policy statement

issued by the Sentencing Commission. See 18 U.S.C. § 3582(c)(1)(A). To address this statutory

provision, the Sentencing Commission promulgated the policy statement found at U.S.S.G. §

1B1.13, which adds the requirement that the defendant not be a danger to the safety of another

person or the community. See id. In addition, in Application Note 1 to the statement, the

Commission set forth four circumstances (in subdivisions (A) through (D)) under which




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  The motion for compassionate release includes a motion for appointment of counsel, which the
court previously granted.
2
  A defendant may file a motion for reduction of a term of imprisonment after the defendant has
fully exhausted all administrative remedies. 18 U.S.C. § 3582(c)(1)(A). The government asserts
that Mr. Dodds “may not have” exhausted his remedies. In his motion, Mr. Dodds asserts that he
submitted a written request to the warden in April 2020, received no response, and submitted
another written request in early November 2020. The government asserts that it has no record of
the April request and that 30 days did not pass between the filing of the November request and
Mr. Dodds’ motion. In the absence of any evidence from the government controverting Mr.
Dodds’ assertion that he exhausted his administrative remedies in April 2020, the court exercises
jurisdiction over the motion and proceeds to the merits. See United States v. Trent, 2020 WL
1812214, at *1 (N.D. Cal. Apr. 9, 2020) (crediting the defendant’s representation that he submitted
an earlier request for release over the government’s failure to confirm the existence of the request).
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“extraordinary and compelling reasons” may exist. See id. applic. note 1. In this case, the court

looks to subdivision (D), known as the “catchall” provision, which provides as follows:

              (D) Other Reasons. – As determined by the Director of the Bureau of
       Prisons, there exists in the defendant’s case an extraordinary and compelling reason
       other than, or in combination with, the reasons described in subdivisions (A)
       through (C).

See id. Subdivision (D) thus provides that circumstances other than those listed in subdivisions

(A) through (C) may be sufficient to warrant relief, as determined by the Bureau of Prisons (BOP).

The BOP has made no such determination in this case. Nevertheless, as this court has previously

determined, in accordance with the weight of authority, the court is not limited to circumstances

(A) through (C), and it may exercise its own discretion to determine whether other extraordinary

and compelling reasons warrant relief under the statute. See Jackson, 2020 WL 2812764, at *3.

       Mr. Dodds argues that extraordinary and compelling reasons for immediate release from

prison exist because his medical conditions (severe obesity, type 2 diabetes, hypertension and

asthma) create an increased risk of serious harm or death from the ongoing coronavirus pandemic.

The government concedes that Mr. Dodds’ medical conditions constitute extraordinary and

compelling reasons sufficient for this court to consider early release under the statute.

Nonetheless, the government maintains that the § 3553(a) factors weigh against early release in

light of the nature and seriousness of his offenses and the need to provide just punishment for

those offenses. On this point, the court agrees with the government and, for the reasons set forth

below, concludes that the risk to Mr. Dodds’ health if he remains in custody is outweighed by the

need for continued incarceration under the specific circumstances presented here. In other words,

the court finds that compassionate release would materially depart from an appropriate § 3553(a)


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sentence. See 18 U.S.C. § 3582(c)(1)(A) (requiring the consideration of applicable § 3553(a)

factors if court finds that extraordinary and compelling reasons warrant reduction).

       The § 3553(a) factors include (1) the defendant’s personal history and characteristics; (2)

his sentence relative to the nature and seriousness of his offenses; (3) the need for a sentence to

provide just punishment, promote respect for the law, reflect the seriousness of the offense, deter

crime, and protect the public; (4) the need for rehabilitative services; (5) the applicable guideline

sentence; and (6) the need to avoid unwarranted sentencing disparities among similarly-situated

defendants. See 18 U.S.C. § 3553(a)(1)–(6)). Applying those factors here, the court declines to

reduce Mr. Dodds’ sentence. It is significant to the court that he has served roughly half of his

sentence for serious crimes—he was identified as the crack cocaine supplier of his co-defendant;

was held accountable for more than 67 grams of crack cocaine; and possessed a loaded, stolen

firearm at the time of his arrest. United States v. Cheatham, 2020 WL 5423890, at *2 (D. Md.

Sept. 10, 2020) (even if court found extraordinary and compelling reasons warranting reduction,

court would deny motion where defendant served only half of original sentence, was involved in

extensive drug trafficking conspiracy involving large quantities of cocaine, and possessed a

firearm to facilitate drug dealing); United States v. Goodwin, 2020 WL 5412840, at *304 (E.D.

Tenn. Sept. 9, 2020) (denying motion where defendant drug crimes were unquestionably serious

and defendant had served roughly half his sentence; nothing that “courts have generally granted

compassionate release only to defendants who have served a significant portion of their

sentences”); United States v. Wilson, 2020 WL 4901714, at *6 (W.D. Wash. Aug. 20, 2020) (even

if defendant had established extraordinary and compelling reasons to render him eligible for a

reduction, court would deny the motion based on § 3553(a) factors—defendant was involved in

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large drug conspiracy and was personally involved in the distribution of kilogram quantities of

cocaine); United States v. Ball, 2020 WL 4816197, at *4 (E.D. Mich. Aug. 19, 2020) (denying

motion for compassionate release where defendant served only half of 120-month sentence for

drug distribution crimes).

       Perhaps more significantly, Mr. Dodds’ sentence represented a very significant departure

from the Sentencing Guidelines, which underscores the court’s conclusion that continued

incarceration is appropriate here and that early release would constitute a windfall to Mr. Dodds.

Of course, the fact that defendant agreed to his sentence further cuts against his argument that a

reduction is appropriate. United States v. Windley, 2020 WL 6938336, at *3 (D.N.J. Nov. 25,

2020) (denying motion for compassionate release based on § 3553(a) factors in part because Rule

11(c)(1)(C) plea agreement represented downward variance); United States v. Sanders, 2020 WL

6460224, at *9 (M.D. Tenn. Nov. 3, 2020) (denying motion for compassionate release based on §

3553(a) factors in part because defendant agreed through Rule 11(c)(1)(C) plea agreement that

his sentence was appropriate).

       Lastly, the PSR assigned defendant thirteen (13) criminal history points, resulting in a

criminal history category of VI irrespective of defendant’s career offender designation.

Defendant’s criminal history is lengthy and reflects a pattern of recidivism. Defendant’s criminal

history began in his early teens and includes multiple theft convictions, eluding law enforcement,

aggravated and domestic battery, and violations of protective orders. His criminal history also

reflects a continuing disrespect for the law and an inability to comply with conditions of probation,

with defendant committing several offenses while on probation at various times. The court, then,

cannot conclude that defendant is a proper candidate for compassionate release. United States v.

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Davila, 2020 WL 6499562, at *3 (D. Conn. Nov. 5, 2020) (denying motion for compassionate

release despite increased vulnerability to COVID-19 where defendant had substantial criminal

history, demonstrated recidivism and committed offenses while on probation); United States v.

McCoy, 2020 WL 6118825, at *3 (E.D. Cal. Oct. 16, 2020) (denying motion for compassionate

release where defendant’s criminal history was “replete with revocations of parole and violations

of her probation” demonstrating a “utter” disregard of court orders and a lack of respect for the

rule of law).

       In short, the court finds that defendant’s sentence remains sufficient but not greater than

necessary to serve the purposes of sentencing. The motion is denied.3



       IT IS THEREFORE ORDERED BY THE COURT THAT defendant’s motion for

compassionate release (doc. #189) is hereby denied.



       IT IS SO ORDERED.



       Dated this 11th day of January, 2021, at Kansas City, Kansas.



                                                 s/ John W. Lungstrum
                                                 John W. Lungstrum
                                                 United States District Judge

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 Mr. Dodds emphasizes that release is further warranted because of an outbreak of COVID-19 at
his correctional facility. But the infection numbers reported by FCI Florence since the filing of
Mr. Dodds’ reply brief have decreased significantly and the recovery numbers reported have
increased significantly, reflecting that the facility is managing the outbreak and trending in the
right direction.
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